                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  MILWAUKEE DIVISION


PETER SOUMPHONPHAKDY,
                                        Plaintiff,
                 vs.                                                     Case No. 20-cv-1140

EPIC MOTORSPORTS, INC.,

                                        Defendant.


                                 DISCLOSURE STATEMENT



       The undersigned counsel of record for Peter Soumphonphakdy, Plaintiff, furnishes the
following list in compliance with Civil L. R. 7.1 and Fed. R. Civ. P. 7.1:

Parties the attorney represents in this action:
        Peter Soumphonphakdy

The attorney does not represent a corporation.

Law firms whose attorneys will appear for the party in this Court:
       DeLadurantey Law Office, LLC



                                                  Date: July 27, 2020.


                                                  s/ Nathan E. DeLadurantey
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